Case 1:19-cv-00169-LEK-KJM Document 29 Filed 05/23/19 Page 1 of 4            PageID #: 224




  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiffs

                         UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Venice PI, LLC, et al.,                  )   Case No.: 1:19-cv-169-LEK-KJM
                                            )   (Copyright)
                      Plaintiffs,           )
      vs.                                   )   STIPULATED CONSENT
                                            )   JUDGEMENT BETWEEN
   DOE 1, et al.,                           )   PLAINTIFFS AND DEFENDANT
                                            )   BRENT BALDWIN
                      Defendants.           )
                                            )
                                            )
                                            )
                                            )
                                            )


           As attested to by the signatures of BRENT BALDWIN and counsel for the

  Plaintiffs below, this matter comes before the Court on the parties’ joint stipulation.

           Plaintiffs have filed a Complaint [Doc. #1] alleging Direct Copyright

  Infringement against BRENT BALDWIN among others.

           The parties, after conferral and investigation, now appear, Defendant BRENT


  19-169
Case 1:19-cv-00169-LEK-KJM Document 29 Filed 05/23/19 Page 2 of 4        PageID #: 225




  BALDWIN pro se and Plaintiffs through counsel to fully and finally resolve all

  claims between the parties and the matters before the Court and have moved for

  entry of this Stipulated Consent Judgment.

          WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

    matters relevant to this case between the parties as follows:

          1. This Court has jurisdiction over the parties and venue is proper.

          2. Plaintiffs have valid and enforceable copyrights in the original

    copyrighted works as identified in Exhibit 1 to the Complaint [Doc. #1-1].

          3. Defendant BRENT BALDWIN concedes to using the website yts.ag

    (“YTS”) of Defendant DOE 2 to download at least a part of the motion pictures

    Once Upon a Time in Venice and Bokya: Undisputed as alleged in the Complaint

    [Doc. #1] and to using the website yifymovie.is (“YIFY”) to stream copies of the

    motion pictures Mechanic: Resurrection and Singularity due to deceptive and

    misleading language which led Defendant BRENT BALDWIN to believe that

    YIFY and YTS were legal platforms for viewing and/or obtaining copies of

    Copyright protected motion pictures.

          4. Pursuant to stipulation of the parties, the below Permanent Injunction

    and Order is to be entered against Defendant BRENT BALDWIN.




                                            2
Case 1:19-cv-00169-LEK-KJM Document 29 Filed 05/23/19 Page 3 of 4          PageID #: 226




                           PERMANENT INJUNCTION

        Defendant BRENT BALDWIN is hereby PERMANENTLY ENJOINED

  from directly, contributorily or indirectly infringing Plaintiffs’ rights in their

  motion pictures, including without limitation by using the Internet to reproduce or

  copy any of Plaintiffs’ motion pictures, except pursuant to a lawful written license

  from Plaintiffs.

        This Court will retain jurisdiction until April 24, 2021 for the purposes of

  enforcing the Permanent Injunction and Order.

        Except as provided herein, each party is to bear their own costs and fees.

  With entry of this Consent Judgment, this matter is terminated with respect to

  Defendant BRENT BALDWIN.



       DATED: Kailua-Kona, Hawaii, May 9, 2019.


                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper
                                  Attorney for Plaintiffs




                                           3
Case 1:19-cv-00169-LEK-KJM Document 29 Filed 05/23/19 Page 4 of 4   PageID #: 227




       DATED: Kittery, Maine, May 9, 2019.


                               BRENT BALDWIN


                               /s/ Brent Baldwin_____________________
                               Pro Se
                               Defendant




  APPROVED AND SO ORDERED:




  _________________________________________________________________
  Venice PI, LLC, et al. v. DOE 1, et al.
  Case No.: 1:19-cv-00169-LEK-KJM, STIPULATION; AND ORDER

                                        4
